Case 2:04-cv-02088-SHI\/|-dkv Document 36 Filed 07/28/05 Page 1 of 3 Page|D 34

 

IN THE UNITED sTATEs DISTRICT cOURT F“~ED BY "' D`C'
FoR THE WE€;§SE§§S;WICS'{(;)§ TENNESSEE 05 JUL 28 m 6: 55
JOHN DoUGHERrY, UEH@U§§' 'f?§§§g%]m
Plainiifrs,
Vs. No. 04-2088-Mav

FAULKNER'S AUTO BODY CENTER,
INC. and GARY FAULKNER,

Defendants.

 

CONSENT ORDER OF DISMISSAL WITH PREJUDICE

 

IT APPEARING to the Court from statement of counsel and the record as a Whole that
the issues herein are resolved and the matter should be dismissed with prejudice

IT IS, THEREFORE, ORDERED, ADJUDGED, AND DECREED by the Court that this
matter be and it is hereby ordered dismissed With prejudice and that the non-discretionary costs

of the cause are assessed against the Defendants for which Wtion may issue if necessary.

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IUDGE SAMUEL H. MAYS JR.

F.,J.` 1_7,1-0¢.\’

 

DATE:

 

APPROVED FOR ENTRY:

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Tiiis document entered on the dock sh t in co piiance
with Rule ab and/or 79(3) FHCP on M'

Case 2:04-cv-02088-SHI\/|-dkv Document 36 Filed 07/28/05 Page 2 of 3 Page|D 35

A/z:.\

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Notice of Distribution

This notice confirms a copy of the document docketed as number 36 in
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Honorable Sarnuel Mays
US DISTRICT COURT

